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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENVILLE DIVISION

RLI Insurance Company,                  )
                                        )
                                        )             Civil Action No. 6:20-cv-01289-JD
                          Plaintiff(s), )
                                        )                 ORDER OF DISMISSAL
          vs.                           )
                                        )
                                        )
Innovative Employer Solutions LLC,      )
et., al.,                               )
                                        )
                                        )
                                        )
                                        )
                                        )
                          Defendant(s). )
               The Court having been advised by counsel for the parties that the above action

has been settled,

               IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within sixty (60) days, either party may petition the

Court to reopen this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In the

alternative, to the extent permitted by law, either party may within sixty (60) days petition the

Court to enforce the settlement. Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299

(4th Cir. 1978). By agreement of the parties, the court retains jurisdiction to enforce the

settlement agreement. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381-82 (1994).

               The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

               IT IS SO ORDERED.


                                              ___________________________
                                              Joseph Dawson, III
                                              Senior United States District Judge
May 4, 2021
Greenville, South Carolina
